             Case 3:16-md-02741-VC Document 2589 Filed 01/30/19 Page 1 of 7



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14                                 UNITED STATES DISTRICT COURT
15                              NORTHERN DISTRICT OF CALIFORNIA
16
      IN RE: ROUNDUP PRODUCTS LIABILITY
17                                                             MDL No. 2741
      LITIGATION
18                                                             Case No. 3:16-md-02741-VC
19    Hardeman v. Monsanto Co., et al.,
      3:16-cv-0525-VC                                          DEFENDANT MONSANTO COMPANY’S
20    Stevick v. Monsanto Co., et al.,                         OPPOSITION TO PLAINTIFFS’ MOTION
21    3:16-cv-2341-VC                                          IN LIMINE NO. 1 TO EXCLUDE
      Gebeyehou v. Monsanto Co., et al.,                       ANY EVIDENCE OR REFERENCE THAT
22    3:16-cv-5813-VC                                          COMPARES THE AMOUNT OF
                                                               ROUNDUP USE TO NHL INCIDENCE
23                                                             OVER TIME TO DISPROVE CAUSATION
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                       MONSANTO’S OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE NO. 1
                       3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
             Case 3:16-md-02741-VC Document 2589 Filed 01/30/19 Page 2 of 7



 1                                              INTRODUCTION
 2          Plaintiffs provide no valid basis for excluding ecological data demonstrating that, notwithstanding
 3   the substantial increase in the use of glyphosate in the 1990s, the incidence of NHL in the U.S. population
 4   has shown no measurable increase. Ecological data “focuses on a comparison of groups, rather than the
 5   individuals as is the case in other types of epidemiological studies.” Cook v. Rockwell Intern. Corp., 580
 6   F. Supp. 2d 1071, 1098 (D. Colo. 2006). Here, two of Defendant’s oncology experts, Dr. Alexandra
 7   Levine and Dr. William Fleming, have reviewed ecological data tracking incidence rates of NHL and
 8   glyphosate use, and based on that data, reached a reasoned scientific judgment that if the use of glyphosate
 9   contributed to the development of NHL, the incidence of NHL would have increased as glyphosate use
10   became increasingly common. Plaintiffs’ motion cites no legal authority supporting exclusion of these
11   conclusions and the underlying data, which is unsurprising—ecological data is generally accepted in the
12   scientific community and routinely admitted in civil jury trials. Plaintiffs’ criticism of this data—and the
13   experts’ reliance on it—may be a potential basis for cross-examination, but is not a justification for
14   excluding evidence that is both relevant and probative on the question of whether Roundup caused
15   Plaintiff’s NHL. Plaintiffs’ motion should be denied.
16                                                 ARGUMENT
17          Two of Defendant’s oncology experts, Dr. Alexandra Levine and Dr. William Fleming, relied on
18   ecological data about NHL and glyphosate use in reaching their ultimate opinions in this case. Dr. Levine
19   compared the incidence of NHL to the amount of glyphosate applied in the United States. Expert Report
20   of Dr. Alexandra Levine at 12 (Ex. 1). During a time period in which “Roundup use increased
21   substantially,” Dr. Levine observed that NHL incidence rose only “modestly” and eventually “plateaued”
22   by 2004. Id. Based on that data, as well as on her comprehensive review of Mr. Hardeman’s medical
23   records and the literature regarding both glyphosate and acknowledged risk factors for NHL, Dr. Levine
24   concluded that Mr. Hardeman’s NHL could not be attributed to his use of Roundup. Id. at 9-20.
25   Commenting on the ecological data in particular, Dr. Levine reasoned that “[i]f glyphosate were the cause
26   of NHL . . . the incidence of these lymphomas would have increased statistically between 2004 and the
27   present time. This is not the case.” Id. at 12. Dr. Fleming took a similar tack. He reviewed a wide array
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                        MONSANTO’S OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE NO. 1
                        3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
              Case 3:16-md-02741-VC Document 2589 Filed 01/30/19 Page 3 of 7



 1   of information in reaching his conclusions. Expert Report of Dr. William at 2-3, 5-6, 9-11 (Ex. 2). But
 2   as to the ecological data, he found that the historical rate of NHL incidence is “the opposite of the
 3   anticipated result if total glyphosate use was associated with an increased risk of developing NHL.” Id.
 4   at 7.
 5           Courts routinely permit such reliance on ecological studies. In Cook v. Rockwell Intern. Corp., the
 6   court rejected an argument “that ecological studies are inherently unreliable and therefore inadmissible,”
 7   and found to the contrary that such studies “are one of several methods of epidemiological study that are
 8   well-recognized and accepted in the scientific community.” 580 F. Supp. 2d 1071, 1097-98 (D. Colo.
 9   2006). Any “relative weakness as to causation goes to the weight to be accorded ecological studies . . .
10   and does not render these studies or opinions based on them per se inadmissible as a matter of science or
11   law.” Id. In the MDL context, courts have likewise declined invitations to exclude expert opinions based
12   on ecological data. See In re Heparin Prods. Liab. Litig., 803 F. Supp. 2d 712, 726, 743 (N.D. Ohio 2011)
13   (ecologic studies are one of many “recognized and accepted scientific methodologies[] used for assessing
14   the possible side-effects and hazards associated with particular drugs and the causes of disease”); In re
15   Prempro Prods. Liab. Litig., No. 4:03-CV-1507, 2007 WL 5521248, at *2 (E.D. Ark. Nov. 9, 2007)
16   (denying motion to exclude expert whose opinion relied on ecological and other epidemiological data).
17   In fact, other courts have observed that ecological data can be particularly useful for ruling out an alleged
18   causal association, which is what in line with what Dr. Levine and Dr. Fleming did here. See Krenik v.
19   Sec’y of Dep’t of Health & Human Servs., No. 03-2755V, 2014 WL 4387219, at *11 (Fed. Cl. July 25,
20   2014) (finding that “[a]n ecological study is helpful if it rules out a causal connection”); Dwyer ex rel.
21   Dwyer v. Sec’y of Health & Human Servs., No. 03-1202V, 2010 WL 892250, at *66 (Fed. Cl. Mar. 12,
22   2010) (same) (finding that “[a]n ecological study can rule out a causal connection in the aggregate”).
23           Plaintiffs’ motion does not cite any contrary authority—they identify no cases about ecological
24   data, or even the admissibility of expert testimony. Beyond cases setting forth general standards
25   applicable to motions in limine and Daubert, Plaintiffs cite just one case—Peters v. AstraZeneca LP, 224
26   F. Appx. 503 (7th Cir. 2007)—which is inapposite in several respects. In Peters, the Seventh Circuit
27   evaluated whether summary judgment was properly granted against a plaintiff whose sole evidence of
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                        MONSANTO’S OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE NO. 1
                        3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
                Case 3:16-md-02741-VC Document 2589 Filed 01/30/19 Page 4 of 7



 1   causation was that “a small percentage (.1% to .2%) of users of prescription Prilosec claimed to have
 2   experienced taste loss.” Id. at 507. Here, neither Defendant nor Drs. Levine and Fleming are relying
 3   solely on a low incidence rate of complaints. Instead, the experts relied on ecological data, along with
 4   multiple other sources of relevant information, in concluding that Roundup was not a substantial factor in
 5   Mr. Hardeman’s NHL. Plaintiffs identify no authority suggesting that this use of ecological data is
 6   flawed.1
 7          On the contrary, Plaintiffs’ own causation expert, Dr. Dennis Weisenburger, has relied on similar
 8   data in past cases. See Ruff v. Ensign-Bickford Industries, Inc., 168 F. Supp. 2d 1271, 1281-82 (D. Utah
 9   2001). In Ruff, Dr. Weisenburger concluded that nitrates caused the plaintiffs’ NHL, and he conducted
10   an ecological study purportedly “show[ing] that counties in Nebraska subject to high fertilizer (nitrate)
11   usage . . . had a high incidence of NHL.” Id. at 1282. The defense and its expert attacked Dr.
12   Weisenburger’s reliance on the study, arguing that “ecological studies are correlational studies and
13   generally provide relatively weak evidence for establishing a conclusive cause and effect relationship.”
14   See id. The court held that the criticisms “may be developed on cross-examination” but did not warrant
15   excluding Dr. Weisenburger’s proffered testimony.         Id. 1283.    Even if ecological studies cannot
16   “establish[] a conclusive cause and effect relationship,” the court wrote, “they are valuable for generating
17   strong causation hypotheses linking a particular substance to an illness.” Id. at 1282, 1275 n.3. Further,
18   the court noted that the findings of the ecological study were “confirmed five years later in a case-control
19   study funded by the National Cancer Institute.” Id. at 1282.
20          The same approach is warranted here. Just as in Ruff, Plaintiffs’ criticisms of ecological data go
21   to the weight and not admissibility of Dr. Levine’s and Dr. Fleming’s opinions, and—as with all of the
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      Importantly, Plaintiffs do not contest the validity of the data on which Dr. Levine’s and Dr. Fleming’s
24   opinions are based, nor could they given that the overall NHL incidence data comes from the National
     Cancer Institute’s Surveillance, Epidemiology, and End Results Program (“SEER”) data, on which
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     several Plaintiffs’ experts rely. See Expert Report of Dr. Chadi Nabhan (Hardeman) at 5 (Ex. 3); Expert
26   Report of Dr. Beate Ritz at 21 (Ex. 4). Plaintiffs’ experts also have relied on publicly available data
     about the amount of glyphosate used or applied in the United States, which is the other piece of
27   ecological data that matters for Dr. Levine’s and Dr. Fleming’s analyses. See, e.g., Ritz Report at 21-22
     (Ex. 4).
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                        3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
             Case 3:16-md-02741-VC Document 2589 Filed 01/30/19 Page 5 of 7



 1   scientific studies and data in this case—can be raised on cross-examination. 168 F. Supp. 2d at 1281-83;
 2   see In re Heparin, 803 F. Supp. 2d at 753; Cook, 580 F. Supp. 2d at 1103. Dr. Levine’s and Dr. Fleming’s
 3   opinions that Roundup does not cause NHL are properly grounded in ecological data. See Krenik, 2014
 4   WL 4387219, at *11 (ecological studies are “helpful” to “rule[] out a causal connection”); Dwyer, 2010
 5   WL 892250, at *66 (same).
 6                                               CONCLUSION
 7          The Court should allow Defendant’s experts to share with the jury that NHL incidence has
 8   remained constant in the face of a dramatic increase in Roundup application in the United States.
 9   Plaintiffs’ motion to exclude ecological data should be denied.
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11   DATED: January 30, 2019
12                                                Respectfully submitted,
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     Case 3:16-md-02741-VC Document 2589 Filed 01/30/19 Page 6 of 7



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             3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
             Case 3:16-md-02741-VC Document 2589 Filed 01/30/19 Page 7 of 7



 1                                       CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that on this 23rd day of January 2019, a copy of the foregoing was served
 3   via electronic mail to opposing counsel.
 4                                                        /s/ Brian L. Stekloff___________
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                        3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
